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                                                   USDC SDNY
                                                   DOCUMENT
                                                   ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                       DOC #:
SOUTHERN DISTRICT OF NEW YORK                      DATE FILED: 10/21/2020

 ELIOT J. BROWN,

                            Plaintiff,

                     -against-                                   1:20-cv-07419-MKV

 ANDREW SAUL, Acting Commissioner of                                   ORDER
 Social Security,

                            Defendant.

MARY KAY VYSKOCIL, United States District Judge:

       In a separate Order, this case has been referred to one of the Court’s Magistrate Judges for

a Report and Recommendation, which will then be sent to this Court for review and to address any

objections to the Report. Alternatively, the parties may voluntarily consent to have the Magistrate

Judge render a final decision in this action in accordance with the provisions of 28 U.S.C. § 636(c)

and Federal Rule of Civil Procedure 73. Any appeal from a Magistrate Judge’s decision following

consent is directly to the United States Court of Appeals for the Second Circuit in the same way

that an appeal from a District Judge’s decision would be taken.

       Both parties—the Plaintiff and the Commissioner of Social Security—must consent in

order for the Magistrate Judge to decide the case. To determine whether the parties wish to

voluntarily consent to proceeding before Magistrate Judge Parker, counsel for the Commissioner

of Social Security is directed to send to counsel for Plaintiff on or before October 16, 2020, a copy

of the attached consent form bearing either (1) a signature indicating consent to proceeding before

the Magistrate Judge, or (2) a notation that Defendant does not consent.

       On or before October 23, 2020, Plaintiff’s counsel is directed to submit a letter via ECF

informing the Court whether all parties have consented to proceeding before the Magistrate Judge.

If any party has not consented, the letter shall not state which of the parties have not consented—
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only that there has not been consent by all parties. If both parties have consented, counsel shall

file on ECF the signed consent forms.

       This Order is not intended to interfere with the parties’ right to have final disposition of

this case by a United States District Judge. The parties are free to withhold their consent without

adverse substantive consequences. If any party withholds consent, the identity of the parties

consenting or withholding consent shall not be communicated to any Magistrate Judge or District

Judge to whom the case has been assigned.



SO ORDERED.
                                                     _________________________________
Date: October 21, 2020                               MARY KAY VYSKOCIL
      New York, NY                                   United States District Judge




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